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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

 KELCY L. WARREN                                         Civil Action No. 8:24-cv-01252

                        Plaintiff,
                                                         Jury Trial Demanded
        v.

 BOOZ ALLEN HAMILTON, INC.

                        Defendant.

                               FIRST AMENDED COMPLAINT

       Plaintiff Kelcy L. Warren (“Warren”) brings this First Amended Complaint against

Defendant Booz Allen Hamilton, Inc. (“Booz Allen”), and alleges as follows:

       1.      This suit arises from Booz Allen’s systemic failure to safeguard its computer

systems, failure to protect IRS networks and databases, and failure to monitor and restrict its

personnel’s data access, at the expense of the confidential tax return information of thousands of

American taxpayers—including Plaintiff Kelcy Warren.

       2.      Since at least 2008, Booz Allen has operated under one or more multimillion-dollar

contracts with the Department of the Treasury or the IRS, through which Booz Allen accessed and

reviewed tax returns and return information in the course of performing IT, data processing,

cybersecurity, and tax administration services for the IRS. Despite its knowledge of criminal

consequences for unauthorized inspection or disclosure, and federal obligations to safeguard this

data, Booz Allen chose not to protect these confidential tax returns and return information.

       3.      Instead, Booz Allen willingly allowed its employees unrestricted and unmonitored

access to IRS databases and systems. This access enabled Booz Allen employees to run tailored

searches to retrieve personally identifiable taxpayer data, including returns and return information,

dating over a fifteen-year period. Booz Allen enabled its employees to search IRS databases using
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specific keywords, as well as more generalized search parameters. Booz Allen further permitted

private downloads of the confidential information to local machines and private uploads of the

taxpayer data to remote and cloud-based storage—all without sufficient tracing, monitoring, or

security in place. In effect, Booz Allen permitted its employees free rein with confidential taxpayer

data, in derogation of its duty to American taxpayers, including Mr. Warren.

         4.      This laxity soon delivered disastrous—but all too predictable—consequences.

Beginning in 2018, Booz Allen’s systemic failures converged in a massive data theft perpetrated

by its employee Charles “Chaz” Littlejohn. During his Booz Allen tenure from 2018–2021,

Littlejohn used his Booz Allen credentials to search for and download the tax returns and return

information of thousands of the nation’s wealthiest taxpayers, including President Donald Trump,

Jeff Bezos, Elon Musk, Warren Buffet, and Michael Bloomberg. The stolen information also

included the tax returns and return information of Plaintiff Kelcy Warren.

         5.      On multiple occasions, Charles Littlejohn uploaded this stolen tax information to a

private website. He then disclosed portions of the data to ProPublica and other media outlets,

including The New York Times. ProPublica has since published nearly 50 articles using the stolen

tax data on these wealthy Americans. The articles included a high-profile piece by ProPublica in

December 2021 that purportedly summarized certain tax returns of President Trump, Stephen

Ross, and Mr. Warren, spuriously titled “These Real Estate and Oil Tycoons Avoided Paying

Taxes for Years.” 1 The leading page of the article appears below, with Mr. Warren pictured at far

right:




1
    ProPublica, These Real Estate and Oil Tycoons Avoided Paying Taxes for Years, PROPUBLICA, December 7,
    2021, https://www.propublica.org/article/these-real-estate-and-oil-tycoons-used-paper-losses-to-avoid-paying-
    taxes-for-years.


                                                       2
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       6.      The 2021 article repeatedly mischaracterized Warren’s tax records and payments

by focusing solely on years in which Energy Transfer, the company he founded, had large

depreciation resulting from large infrastructure investments, which were deductible from its other

income. ProPublica seized on this misimpression to malign Warren as a billionaire “able to wipe

out his income tax liabilities,” who allegedly used millions in distributions to “fund an outsize

lifestyle.” The piece proceeded to list further details from Warren’s tax returns and return

information, including specifics on his real and personal property.

       7.      ProPublica later issued a follow-up story in April 2022, entitled “If You’re Getting

a W-2, You’re a Sucker.” The article used confidential tax returns and return information to malign

Mr. Warren further: “Texas billionaire Kelcy Warren owns a massively profitable natural gas

pipeline company. But in an orgy of cake eating and having, he’s able to receive hundreds of

millions of dollars from his company tax-free while reporting vast losses to the IRS thanks to

energy-industry and other tax breaks, his records showed.” 2




2
    ProPublica, If You’re Getting a W-2, You’re a Sucker, PROPUBLICA,             April   15,   2022,
    https://www.propublica.org/article/if-youre-getting-a-w-2-youre-a-sucker.


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        8.       Booz Allen’s theft and disclosure through Littlejohn was not limited to a few

isolated returns. Indeed, ProPublica claims to have received not just tax returns, but also

information that is sent to the IRS about financial activities such as “income and taxes,”

“investments, stock trades, gambling winnings and even the results of audits.” 3 In fact, even

Congress confirmed there was “little doubt” that the leaked information to ProPublica—including

Mr. Warren’s confidential tax information—“came from inside the IRS” database, and that the

disclosure was “precisely what 26 U.S.C. § 6103 and related statutes were designed to prevent—

the disclosure of private tax information and the political weaponization of that information.” 4

        9.       Booz Allen’s employee, Charles Littlejohn, ultimately pleaded guilty to a violation

of 26 U.S.C. § 7213(a)(1) for unlawful disclosure of confidential tax return information. In that

plea, he admitted that, while working for Booz Allen, he had access to unmasked IRS data

associated with thousands of the nation’s wealthiest people, and that he exploited that access to

unlawfully inspect and repeatedly disclose confidential tax return information to various media

outlets. Since that publication, and its highly misleading characterization of his tax return history,

Mr. Warren has faced ongoing injury including, but not limited to, public backlash, significant

reputational harm, and loss of privacy, and economic damages.

        10.      Accordingly, Mr. Warren brings this action against Booz Allen for violations of

federal law, negligence, and invasion of privacy, including (a) its employee’s unlawful inspections

and disclosures of Warren’s confidential tax return information, (b) its willful and intentional




3
    ProPublica, The Secret IRS Files: Trove of Never-Before-Seen Records Reveal How the Wealthiest Avoid Income
    Tax, PROPUBLICA, June 8, 2021, https://www.propublica.org/article/the-secret-irs-files-trove-of-never-before-
    seen-records-reveal-how-the-wealthiest-avoid-income-tax.
4
    Letter from Congressman Kevin Brady and Senator Mike Crapo to The Honorable Janet Yellen, Secretary of the
    U.S.     Department     of   Treasury      (April   18,   2022),    https://gop-waysandmeans.house.gov/wp-
    content/uploads/2022/04/4-18-2022-Brady-Crapo-to-Yellen_FINAL.pdf.


                                                       4
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failure to establish appropriate administrative, technical, and/or physical safeguards over access to

IRS tax data by employees such as Littlejohn, and (c) its failure to ensure the security and

confidentiality of Mr. Warren’s confidential tax return information.

                                 JURISDICTION AND VENUE

       11.     This Court has personal jurisdiction because Booz Allen maintains its principal

place of business in McLean, Virginia.

       12.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 because the

first cause of action arises from federal statute. The Court has subject-matter jurisdiction over the

remaining causes of action under 28 U.S.C. § 1367 because the claims are so related to claims in

the action within such original jurisdiction that they form part of the same case or controversy.

Additionally, 26 U.S.C. § 7431(a) authorizes suit in a district court of the United States for the

unauthorized disclosure or inspection of tax return or return information.

       13.     Venue lies in the Eastern District of Virginia pursuant to 28 U.S.C. § 1391(b)

because Defendant Booz Allen resides in this judicial district.

                                            PARTIES

       14.     Plaintiff Kelcy L. Warren is a self-made entrepreneur in the energy transportation

and midstream industries. Mr. Warren is Executive Chairman and Chairman of the Board of

Energy Transfer LP and has been a recognized leader in the energy industry for nearly forty years.

He co-founded Energy Transfer in 1996 as a small intrastate natural gas pipeline operator. Under

his leadership, Energy Transfer has grown into one of the largest and most diversified publicly

traded energy companies in the industry, providing transportation and midstream services for

natural gas, natural gas liquids, crude oil, and refined products across the United States. Mr.

Warren resides in Dallas, Texas.




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        15.     Defendant Booz Allen Hamilton, Inc. is an American government and military

contractor of over 32,000 employees, purportedly specializing in intelligence. Booz Allen is

incorporated under Delaware law and headquartered in McLean, Virginia. The company provides

consulting, analysis, and engineering services to public and private-sector organizations and

nonprofits, including the Department of the Treasury and Internal Revenue Service.

        16.     Charles Edward Littlejohn is a person who was employed by Booz Allen at various

intervals from 2008–2021. Littlejohn performed work under Booz Allen’s contracts with the

Department of the Treasury and/or the IRS. At all relevant times, Booz Allen afforded Littlejohn

access to IRS systems and databases that contained the confidential tax returns and tax return

information of thousands of American taxpayers, including Mr. Warren. On information and

belief, Littlejohn worked for Booz Allen in Lanham, Maryland at the IRS’s New Carrollton

Federal Building, which houses many of the IRS’s information technology functions.

                                  FACTUAL ALLEGATIONS

A.      The IRS’s Materially Flawed Cybersecurity Infrastructure

        17.     The IRS relies heavily on IT systems and electronic data to collect, process,

analyze, and maintain tax returns and return information. But while that reliance has increased, the

IRS’s cybersecurity protections remain woefully inadequate. The Treasury Inspector General for

Tax Administration (“TIGTA”) has repeatedly documented these system threats.

        18.     For example, a 2018 TIGTA audit identified 88 separate physical security control

weaknesses and over 1,700 improperly configured user accounts within the IRS. 5 TIGTA also

found that the IRS’s Windows Policy Checker was out of date and used three-year-old technical



5
     See TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION, Report No. 2018-20-034, ACTIVE DIRECTORY
     OVERSIGHT NEEDS IMPROVEMENT AND CRIMINAL INVESTIGATION COMPUTER ROOMS LACK MINIMUM SECURITY
     CONTROLS, at Highlights (June 27, 2018).


                                                 6
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guidelines to conduct its analysis. 6 As a result, TIGTA concluded “the IRS cannot ensure that

sensitive taxpayer information and taxpayer dollars are preserved and protected.” 7

        19.     Despite annual audits, TIGTA continued to find systemic failures by the IRS to

establish appropriate administrative, technical, and physical safeguards to adequately protect

against the unlawful disclosure of taxpayers’ confidential tax return information. For example, in

its Annual Assessment of the IRS’s Information Technology Program for Fiscal Year 2020, TIGTA

revealed that the IRS had failed to use “encryption algorithms” in accordance with Federal

Information Processing Standards 140-2, Security Requirements for Cryptographic Modules for

certain operating systems in order to keep confidential tax return information “unreadable for an

unauthorized user.” 8 Likewise, TIGTA reported that 2 out of 5 of the IRS’s Cybersecurity

Framework Function Areas (i.e., Identify, Protect, Detect, Respond, Recover) “were deemed as

‘not effective.’” 9

        20.     TIGTA has also identified multiple security deficiencies for the IRS system that

collects, converts, and stores a taxpayer’s confidential tax return information into electronic

records of taxpayer data. The deficiencies included “more than 16,000 policy violations.” 10 In

other instances, “the IRS inappropriately assigned business role accounts to an administrator

group, resulting in those accounts [and thus inappropriate employees] having unnecessary elevated

privileges.” 11 Notably, TIGTA found that the IRS “lacked management oversight to ensure that




6
     Id.
7
     Id. at 5.
8
     See TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION, Report No. 2021-20-001, ANNUAL ASSESSMENT
     OF THE INTERNAL REVENUE SERVICE’S INFORMATION TECHNOLOGY PROGRAM FOR FISCAL YEAR 2020, at 22 (Oct.
     30, 2020).
9
     See id. at 7–9.
10
     TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION, Report No. 2020-20-006, ACTIVE DIRECTORY
     OVERSIGHT NEEDS IMPROVEMENT, at Highlights (Feb. 5, 2020); id. at 1–2.
11
     Id. at Highlights.


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Federal and [Internal Revenue Manual] requirements are met” and, in “critical areas” housing

computer rooms, “the IRS cannot control the movement of individuals and eliminate unnecessary

traffic throughout this critical security area [to] reduce the opportunity for unauthorized disclosure

or theft of tax information.” 12

         21.      Not only did TIGTA, through its various audits, put the IRS on notice for years of

the IRS’s security deficiencies, but the IRS had first-hand knowledge of its vulnerabilities based

on repeated data breaches. For instance, from 2014–2015, approximately 400,000 U.S. taxpayer

accounts were potentially accessed by hackers, with hundreds of thousands of additional accounts

targeted. 13 Then, in 2017, IRS data from approximately 100,000 taxpayers was potentially

compromised through use of a key FAFSA tool. 14 And in 2022, the IRS admitted to mistakenly

publishing personal data about 120,000 individuals on its website. 15

         22.      A report from the Government Accountability Office in September 2023 also found

problems with how the IRS handles taxpayer data. 16 The report found that, since 2010, 77 of the

Accountability Office’s recommendations for stronger safeguards had gone unheeded. The

watchdog agency singled out the 14,000 IRS contractors as a potential weakness, noting that a

third of the contractors had not completed a training course on protecting the records of taxpayers.




12
     Id. at 6.
13
     Press Release, IRS Statement on “Get Transcript” (Feb. 26, 2016), https://www.irs.gov/newsroom/irs-statement-
     on-get-transcript.
14
     Written Testimony of Kenneth C. Corbin, Commissioner, Wage and Investment Division and Silvana Gina Garza,
     Chief Information Officer, Internal Revenue Service, Before the House Oversight and Government Reform
     Committee (May 3, 2017), https://oversight house.gov/wp-content/uploads/2017/05/Corbin-Garza-IRS-joint-
     Statement-FAFSA-5-3.pdf.
15
     See Press Release, IRS Statement on Forms 990-T (Sept. 2, 2022), https://www.irs.gov/newsroom/irs-statement-
     on-forms-990-t; Letter from Anna Canfield Roth, Acting Assistant Secretary for Management, U.S. Department
     of the Treasury, to Bennie G. Thompson, Chairman of the Committee on Homeland Security (Sept. 2, 2022),
     https://s.wsj net/public/resources/documents/IRSBREACH.pdf.
16
     U.S. Government Accountability Office, Security of Taxpayer Information: IRS Needs to Address Critical
     Safeguard Weaknesses, (Aug. 14, 2023), https://www.gao.gov/products/gao-23-105395.


                                                        8
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“As a result, IRS contractors [were] at increased risk of being unprepared to handle taxpayer

information.” 17

           23.   The IRS and other related agencies were well-aware of these systemic data security

failures. Indeed, the federal government previously retained multiple contractors—Booz Allen

among them—to strengthen the IRS’s cybersecurity protections.

B.         Booz Allen Secures Billions in Government Cybersecurity and Tax Administration
           Contracts

           24.   In 2018, the Department of Homeland Security (DHS) issued RFPs for several

multiyear contracts to protect the computer networks, electronic data, and IT systems of the IRS

and other key government agencies. In February 2018, DHS awarded Booz Allen an initial six-

year, $621 million contract to further develop and implement the Department of Homeland

Security’s Continuous Diagnostics and Mitigation (“CDM”) program, a government-wide

cybersecurity effort to monitor and protect federal networks across agencies that included the IRS.

           25.   In August 2018, Booz Allen secured a second, even more lucrative cybersecurity

contract from the same program. DHS, in partnership with the General Services Administration

(GSA) Federal Systems Integration and Management Center (FEDSIM), selected Booz Allen as

the prime contractor under the government-wide Continuous Diagnostics and Mitigation (CDM)

Dynamic and Evolving Federal Enterprise Network Defense (DEFEND) Program for Group D,

this time with a larger $1.03 billion task order. At the time, the contract was the largest federal task

order and the second-largest cybersecurity task order in Booz Allen’s history.

           26.   The award required Booz Allen to enhance the cybersecurity capabilities of six

federal agencies, including the General Services Administration, Department of Health and Human




17
     Id.


                                                   9
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Services, NASA, Social Security Administration, the U.S. Postal Service, and the Department of

the Treasury (including the IRS). In securing this contract, Booz Allen claimed to design CDM

solutions to help agency leaders understand their attack surface, detect evolving threats, make

informed risk-based decisions, and act quickly. Booz Allen also touted its reputation as “the

leading provider of professional security services” and its commitment to “bring the best talent

and most sophisticated tradecraft together to create innovative cyber solutions at an unprecedented

scale.” 18

         27.     Additionally, in June 2023, Booz Allen announced yet-another IRS award. Booz

Allen secured a position on the IRS Enterprise Development Operations Services (EDOS) contract,

a blanket purchase agreement that could be worth $2.6 billion over a seven-year period. In this

latest contract, Booz Allen will purportedly assist the IRS’s IT teams in modernizing systems used

to examine and collect taxes by improving efficiencies in tax administration, supporting the IRS’s

applications development portfolio, and implementing annual tax season legislative requirements.

         28.     Under these three contracts, as well as several other agreements, the Department of

the Treasury and/or IRS contracted with Booz Allen to perform cybersecurity, IT, and tax

administration services for the IRS. Under those contracts and agreements, the Treasury

Department and the IRS permitted Booz Allen access to IRS databases, computer networks, and

other systems containing the tax returns and return information of Mr. Warren and other American

taxpayers. Booz Allen then provided its employees with access to the IRS’s searchable tax return

databases and systems, purportedly to perform their work on these government contracts.




18
     Press Release, Department of Homeland Security Awards Booz Allen Hamilton $1.03B Task Order as Prime
     Contractor to Enhance Cybersecurity Capabilities across Six Federal Agencies (Aug. 21, 2018),
     https://investors.boozallen.com/news-releases/news-release-details/department-homeland-security-awards-
     booz-allen-hamilton-103b.


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       29.     Under these three contracts alone, Booz Allen has or will receive over $4 billion in

federal funds to enhance the cybersecurity of the IRS and other federal agencies. But these taxpayer

dollars cannot mitigate the data threats to the IRS. This is because Booz Allen—the very company

charged with securing IRS taxpayer data—itself has significant data vulnerabilities that preclude

it from securing this sensitive information or performing tax administration services.

C.     Booz Allen’s Systemic Failures to Secure Confidential Data

       30.     Booz Allen markets itself as a global leader in cybersecurity technology and

consulting, claiming to deliver adversary insight, an innovative approach, and an understanding of

advanced threats and vulnerabilities to the most sophisticated global enterprises, government

agencies, and national missions.

       31.     Yet Booz Allen has consistently failed to address its own cybersecurity

vulnerabilities, and instead has repeatedly permitted its employees to access, download, and

disclose highly confidential government and company data. Those failures have been on full

display over the last decade.

       32.     In July 2011, for example, Booz Allen admitted that the hacking group

“Anonymous” had infiltrated its company network and stolen a list of approximately 90,000

military email addresses and encrypted passwords. In that breach, Anonymous also

misappropriated an assortment of data related to other companies and government networks served

by Booz Allen. Anonymous further claimed to have accessed and deleted four gigabytes of the

firm’s source code and had reportedly discovered “maps and keys” for various government

agencies and federal contractors within the Booz Allen unsecured network. Following the breach,

Anonymous posted this pithy indictment of Booz Allen’s security: “In [Booz Allen’s] line of work

you’d expect them to sail the seven proxseas [sic] with a state-of-the-art battleship, right? Well




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you may be as surprised as we were when we found their vessel being a puny wooden barge,”

explaining that the group had “infiltrated a server on [Booz Allen’s] network that basically had no

security measures in place.” 19 Despite receiving billions in federal contracts related to federal

government cybersecurity, Booz Allen’s networks apparently lacked the security measures to

protect it from a decentralized group of rogue hackers.

         33.     Unfortunately, Booz Allen chose not to address its data security issues. Instead, it

doubled down on its lax policies, repeatedly granting its employees virtually unrestricted access

to both internal company servers and the external networks, systems, and databases of its

government clients.

         34.     For example, in early 2013, Booz Allen assigned its employee Edward Snowden, a

computer systems administrator, to work on IT systems for the National Security Agency (NSA).

By May of 2013, Snowden had used his Booz Allen credentials and access to download thousands

of top-secret security documents. Snowden fled the United States and leaked the classified

materials to multiple journalists, disclosing national secrets and severely compromising the NSA’s

anti-terror surveillance program. Snowden ultimately fled to Russia, where Vladimir Putin granted

him citizenship in 2022.

         35.     Booz Allen’s breaches of government systems continued unchecked. In 2016,

authorities arrested Booz Allen computer analyst Harold Martin for stealing approximately 50

terabytes of confidential data from the NSA, in a breach that authorities have called the largest

theft of classified information in U.S. history. The 50 terabytes of information from 1996 to 2016

included personal details of government employees and “Top Secret” email chains, handwritten



19
     Andy Greenberg, Anonymous Hackers Breach Booz Allen Hamilton, Dump 90,000 Military Email Addresses,
     FORBES (July 11, 2011), https://www forbes.com/sites/andygreenberg/2011/07/11/anonymous-hackers-breach-
     booz-allen-hamilton-dump-90000-military-email-addresses/?sh=7984ac4e76bb.


                                                     12
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notes describing the NSA’s classified computer infrastructure, and descriptions of classified

technical operations. Martin’s work with Booz Allen involved highly classified projects

concerning government computer systems and gave him various security clearances that routinely

provided him access to top-secret information. Among the material allegedly stolen by Martin was

a top-secret document that contained “specific operational plans against a known enemy of the

United States and its allies.” 20 Martin ultimately pleaded guilty to a federal charge for stealing

classified information.

         36.      Another significant breach occurred the very next year. In 2017, investigators

discovered that Booz Allen had left more than 60,000 confidential or sensitive files on a publicly

accessible Amazon Web Services server. Given the files’ accessibility, it is highly likely that

malicious actors downloaded and used the publicly exposed data. The unguarded data included

passwords to sensitive government systems, credentials belonging to a senior engineer at Booz

Allen, vulnerability reports on government source code, and identities of government contractors

with Top Secret clearances. The exposed files concerned the National Geospatial-Intelligence

Agency (NGA), the Department of Defense agency that collects and analyzes data gathered by

satellites and drones for the U.S. military and intelligence community. The sensitive data was

available for unrestricted public download for at least three months in 2017.

         37.      In November 2022, Booz Allen admitted yet-another significant data breach. Booz

Allen’s system allowed a single employee to download potentially tens of thousands of other

employees’ personal information from the company’s internal network. Using Booz Allen’s

network, the employee was able to run a report containing the personal information of “active



20
     Government’s Response to Defendant’s Motion for a Detention Hearing at 4, United States v. Martin, III, No.
     16- 2254-BPG (D. Md. July 19, 2019).



                                                        13
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employees as of March 29, 2021.” The report contained the names, Social Security numbers,

compensation, gender, race, ethnicity, date of birth, and U.S. Government security clearance

eligibility and status for thousands of Booz Allen employees across the company. Booz Allen later

admitted the report containing the personal information was “improperly stored on an internal

SharePoint site.” 21

        38.     Even worse, while Booz Allen was failing to secure its own data and that of the

government, it was also overcharging American taxpayers under government contracts. In 2023,

Booz Allen agreed to pay the United States a massive settlement of $377.4 million to resolve

allegations of violating federal law by improperly billing commercial and international costs to its

government contracts. The U.S. Government charged that, from 2011–2021, Booz Allen had

improperly allocated indirect costs associated with its commercial and international business to its

government contracts and subcontracts that either had no relationship to those contracts and

subcontracts or were allocated to those contracts and subcontracts in disproportionate amounts.

The U.S. Government has called the $377.4 million settlement one of the largest procurement

fraud settlements in its history.

D.      Booz Allen’s Unlawful Access, Use, and Disclosure of Mr. Warren’s Tax Information

        39.     These pervasive data security failures and unethical practices culminated in an

unprecedented taxpayer data breach by Booz Allen employee Charles “Chaz” Littlejohn.

        40.     From 2008 to 2010, and then again from 2012 to 2013, Littlejohn worked for Booz

Allen, principally under contracts Booz Allen had obtained for IRS work in tax administration, IT

services, or cybersecurity work. Booz Allen again hired Littlejohn in 2017 or 2018 as an associate



21
     Booz Allen, Consumer Breach Notification (2022), https://oag.ca.gov/system/files/BAH%20-%20Consumer
     %20Notification%20Template%20-%20CA.PDF.



                                                   14
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in its finance and economic development practice. Littlejohn remained a Booz Allen employee

through approximately 2021, working for Booz Allen on contracts it had obtained from the

Department of the Treasury and/or IRS for tax administration, IT services, or cybersecurity work

for the IRS.

       41.     As Littlejohn’s employer, Booz Allen maintained direct control over his daily

schedule, instructing him on which work to perform, when to perform it, the manner of the work,

and for which IRS projects. Booz Allen maintained direct control over the details of Littlejohn’s

work, including his time spent analyzing IRS data for tax returns and return information, his project

assignments, his performance benchmarks, and his performance reviews.

       42.     Booz Allen issued Littlejohn a computer, as well as network and database

credentials, for performing his IRS data projects. Littlejohn was enrolled in the company’s regular

payroll. Littlejohn’s data analysis for the IRS was part of Booz Allen’s regular business, for work

performed under contracts with the IRS or the Department of the Treasury.

       43.     On information and belief, Littlejohn took this job to advance his extreme political

and ideological agenda. From prior experience on IRS contract work, Littlejohn knew he could

freely access unmasked taxpayer data using his unrestricted and unmonitored access from Booz

Allen. And he aimed to use his data clearance to access and disclose tax returns and return

information associated with President Trump, as well as other high-net-worth individuals.

Littlejohn viewed President Trump as a dangerous threat to democracy, and he intended to obtain

the President’s taxpayer information from the IRS and provide it to the public. Littlejohn also

viewed the U.S. tax system as inequitable, and he believed wealthy Americans had evaded their

tax responsibilities and had received disproportionate tax advantages. Littlejohn aimed to

weaponize his access to IRS tax data to advance his radical agenda.




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       44.     On information and belief, Booz Allen knew of Littlejohn’s extreme political views

and his desire to use access to IRS data to promote those views through public disclosure of

wealthy Americans’ tax information. Yet Booz Allen willingly chose not to monitor Littlejohn’s

activities or—even worse—knew of those activities, yet blithely ignored them. At all times during

Littlejohn’s employment, Booz Allen had both the ability and duty to monitor Littlejohn’s

activities within the IRS database, including his searches, inspections, downloads, transfers, and

disclosures of tax returns and return information.

       45.     Without restriction or supervision from Booz Allen, Littlejohn began using the IRS

databases and systems to extract data about President Trump and other high-net-worth individuals,

including Mr. Warren. Littlejohn used the Booz Allen system and its access to the IRS systems

and databases to download confidential tax returns and return information.

       46.     In late 2018, Littlejohn used his Booz Allen credentials to access the tax returns

and return information of President Trump and related entities and individuals.

       47.     Littlejohn learned that IRS protocols could detect and prevent large downloads or

uploads from IRS systems and devices. But on or about November 30, 2018, he exploited a

loophole in those controls by using his Booz Allen credentials and computer to upload the stolen

tax returns and return information of President Trump and related entities and individuals to a

private website that he controlled. He then used a computer to download the data from that private

website. From the original data set stored on his personal computer, Littlejohn made copies and

stored them on personal data storage devices such as his Apple iPod (which, using his specialized

technical skills, he had configured as a personal hard drive). At all relevant times, Booz Allen

allowed Littlejohn to query, inspect, extract, download, transmit, and store this data.




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       48.     Approximately six months later, in or about May 2019, Littlejohn contacted The

New York Times to discuss providing it with tax return data on President Trump. Between August

and October 2019, Littlejohn disclosed an initial set of President Trump’s tax records to The

Times. In 2020, Littlejohn stole additional tax returns and return information associated with

President Trump. In September 2020, The New York Times published the first of several articles

that publicly disclosed the tax information of President Trump.

       49.     But leaking President Trump’s tax returns and return information did not satisfy

Littlejohn’s radical agenda of exposing taxpayer data and smearing wealthy Americans.

       50.     Beginning in July 2020, again without any restriction or monitoring by Booz Allen,

Littlejohn repeated his crimes. He began conducting searches to pull historic tax data on the

nation’s wealthiest taxpayers. Littlejohn constructed a query designed to pull data on hundreds, or

even thousands, of wealthy Americans, retrieving data over a fifteen-year period. After running

the query, he stole the data set in the same manner as the President’s returns, using his Booz Allen

computer and credentials to upload the data from the IRS database to his personal website.

       51.     On information and belief, Booz Allen had no system, supervision, or other controls

in place to detect or stop this data breach. Booz Allen did not monitor Littlejohn’s activities on

IRS systems or databases.

       52.     In or about September 2020, Littlejohn contacted and discussed with ProPublica

the possibility of disclosing the tax returns and return information of Mr. Warren and thousands

of other American citizens.

       53.     Then, from September 2020 to November 2020, Littlejohn unlawfully disclosed

Mr. Warren’s and thousands of others’ confidential returns and return information to ProPublica

using a personal storage device. In or about November 2020, Littlejohn provided ProPublica with




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the password. ProPublica then published nearly 50 articles that publicly disclosed data from the

returns and return information of Kelcy Warren and other taxpayers.

         54.      During much of this time, and in particular between 2018 and 2021, Littlejohn was

authorized by Booz Allen to access vast amounts of unmasked taxpayer data, including taxpayer

returns and return information, on IRS databases. Indeed, Littlejohn’s Factual Basis for Plea

confirms he “was authorized, pursuant to 26 U.S.C. § 6103(n), to access vast amounts of unmasked

taxpayer data, including taxpayer returns and return information, on IRS databases.” 22

         55.      Booz Allen willingly allowed Littlejohn to repeatedly inspect—and repeatedly

misappropriate—the confidential tax returns and return information of thousands of the nation’s

wealthiest taxpayers, including Mr. Warren. Booz Allen allowed Littlejohn to upload that data to

a private website. And Booz Allen allowed Littlejohn to disclose that data to ProPublica.

         56.      During this time, Mr. Warren diligently sought to identify the persons responsible

for the unlawful disclosure of his returns and return information to ProPublica. However, the

sources of the leak remained hidden. Only on or around the time Littlejohn was indicted on

September 29, 2023 did Warren discover the facts necessary to state his claims against Booz Allen.

While Booz Allen, ProPublica, or The New York Times were never mentioned by name in public

filings from Littlejohn’s criminal proceeding, Warren learned of their identities                through

investigative reporting, which for the first time, included additional details about (i) Littlejohn’s

involvement in the leaks, (ii) Booz Allen’s involvement in the leaks, and (iii) a more fulsome story

of what was leaked and to whom.

         57.      On information and belief, Littlejohn performed these activities, including

extracting and inspecting tax data for high-net-worth individuals, at least in part to benefit Booz



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     United States v. Charles Edward Littlejohn, 1:23-cr-343 (D.D.C.) (ECF 9, ¶ 3).


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Allen because he was requested by Booz Allen to do so, they were tasks Booz Allen expected

Littlejohn to perform in the scope of his employment, and/or they reflected his ability and

sophistication as an IT employee.

       58.     The scope and scale of Littlejohn’s unlawful disclosures appear to be unparalleled

in the IRS’s history. There is no precedent for a case involving the disclosure of tax return and

return information associated with over a thousand individuals and entities. The human impact of

Littlejohn’s crimes and Booz Allen’s misconduct is enormous. Many victims have come forward,

expressing anger and embarrassment about the exposure of their personal financial information.

       59.     Worse, it appears the harm may continue indefinitely: ProPublica has continued to

publish stories using the data disclosed by Littlejohn even after he entered a plea agreement. Mr.

Warren does not know the full scope of the disclosures made by Littlejohn and has been made

aware only of the specific disclosures reflected in the piece-meal stories released by ProPublica.

Further, on information and belief, Littlejohn also disclosed Mr. Warren’s returns and return

information to The New York Times. Thus, Mr. Warren is rightly concerned that additional

personal information may be the subject of a news article tomorrow, next week, next month, or

even next year. The harm arising from Booz Allen’s misconduct and its employee’s crimes is

extensive and ongoing.

       60.     The IRS’s mission, which is to “[p]rovide America’s taxpayers top quality service

by helping them understand and meet their tax responsibilities and enforce the law with integrity

and fairness to all,” cannot be achieved without faith that IRS contractors such as Booz Allen will

safeguard citizens’ private information. Booz Allen’s data breach has undermined that public trust

and confidence in the IRS, an institution that is critical to the effective functioning of our

government.




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        61.      Moreover, Booz Allen’s laxity and misconduct egregiously breaches the trust

placed in it by our government. The IRS provided Booz Allen with millions in fees and access to

sensitive, unmasked data associated with millions of Americans. Instead of respecting the trust of

that agency (and, by extension, hundreds of millions of individuals who shared their information

with it), Booz Allen allowed its employee to exploit it for a radical political agenda.

        62.      Due to ProPublica’s publications of Mr. Warren’s tax return information, Mr.

Warren has sustained public backlash, significant reputational harm, loss of privacy, and economic

damages from the tax disclosures, along with other harms and damages. Mr. Warren brings this

suit to seek redress for the unlawful misappropriation and disclosure of his confidential tax

information done and allowed by Booz Allen.

                    VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

        63.      Mr. Warren realleges and incorporates by reference each of the preceding

paragraphs as if fully set forth herein.

        64.      Booz Allen and Littlejohn had an employer-employee relationship.

        65.      Littlejohn committed tortious acts within the scope of that employment

relationship, including unlawfully inspecting and disclosing Mr. Warren’s tax returns and return

information, in violation of 26 U.S.C. § 6103 and Maryland common law.

        66.      Booz Allen consented—either explicitly or implicitly—to Mr. Warren’s use of

Booz Allen’s computers and network access, and access to IRS systems and databases, to perform

tortious acts.

        67.      Booz Allen had the right to control Littlejohn in the operation of his computer,

network, and database access, and in his searches, inspections, downloads, and disclosures of

confidential tax returns and return information.




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       68.     Littlejohn was motivated to commit these tortious acts at least in part to benefit

Booz Allen because he was requested by Booz Allen to do so, they were tasks Booz Allen expected

Littlejohn to perform in the scope of his employment, and/or they reflected his ability and

sophistication as an IT employee.

       69.     Accordingly, Booz Allen is vicariously liable for the torts committed by its

employee, Littlejohn.

                                   FIRST CAUSE OF ACTION

                                    26 U.S.C. §§ 6103 and 7431

       70.     Mr. Warren realleges and incorporates by reference each of the preceding

paragraphs as if fully set forth herein.

       71.     26 U.S.C. § 6103 provides that tax “[r]eturns and return information shall be

confidential” and applies to any “other person (or officer or employee thereof) who has or had

access to returns or return information under . . . subsection (n) . . . .” Id. § 6103(a)(3).

       72.     26 U.S.C. § 6103(n) permits the disclosure of returns and return information to any

person “to the extent necessary in connection with the processing, storage, transmission, and

reproduction of such returns and return information, the programming, maintenance, repair,

testing, and procurement of equipment, and the providing of other services, for purposes of tax

administration.”

       73.     “Return” is defined as “any tax or information return, declaration of estimated tax,

or claim for refund required by, or provided for or permitted under, the provisions of this title

which is filed with the Secretary by, on behalf of, or with respect to any person, and any

amendment or supplement thereto, including supporting schedules, attachments, or lists which are

supplemental to, or part of, the return so filed.” 26 U.S.C. § 6103(b)(1).




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       74.     “Return information” includes “a taxpayer’s identity, the nature, source, or amount

of his income, payments, receipts, deductions, exemptions, credits, assets, liabilities, net worth,

tax liability, tax withheld, deficiencies, overassessments, or tax payments, whether the taxpayer’s

return was, is being, or will be examined or subject to other investigation or processing, or any

other data, received by, recorded by, prepared by, furnished to, or collected by the Secretary with

respect to a return or with respect to the determination of the existence, or possible existence, of

liability (or the amount thereof) of any person under this title for any tax, penalty, interest, fine,

forfeiture, or other imposition, or offense.” 26 U.S.C. § 6103(b)(2)(A).

       75.     Booz Allen is a “person . . . who has or had access to [the] returns or return

information” of Mr. Warren, under 26 U.S.C. § 6103(n), because the Secretary of the Treasury,

pursuant to regulations prescribed by the Secretary, disclosed Mr. Warren’s returns and return

information to Booz Allen “to the extent necessary in connection with the processing, storage,

transmission, and reproduction of such returns and return information, the programming,

maintenance, repair, testing, and procurement of equipment, and the providing of other services,

for purposes of tax administration.” 26 U.S.C. § 6103(n).

       76.     Under 26 U.S.C. § 6103(a), no such person who has received tax returns or return

information “shall disclose any return or return information obtained by him in any manner in

connection with his service as such an officer or an employee or otherwise or under the provisions

of this section.” The statute’s definition of the term “officer or employee” includes a former officer

or employee. Id.

       77.     “[D]isclosure” means “the making known to any person in any manner whatever a

return or return information.” 26 U.S.C. § 6103(b)(8).




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       78.     26 U.S.C. § 7431 provides taxpayers a private right of action for damages against

any person who is not an officer or employee of the United States for the knowing or negligent

unauthorized inspection or disclosure of tax return information in violation of 26 U.S.C. § 6103.

       79.     On information and belief, Booz Allen, both through its own actions and through

its employee, Littlejohn, repeatedly violated 26 U.S.C. § 6103 from 2018–2021 by inspecting Mr.

Warren’s confidential tax returns and return information, and then unlawfully disclosing that data

to ProPublica. Those unlawful inspections and disclosures involved confidential information on

Mr. Warren’s income, real property, charitable contributions, financial and securities transactions,

adjusted gross income, and information sufficient to calculate the purported effective federal

income tax rates he paid over at least a decade.

       80.     Booz Allen made these unlawful inspections and disclosures knowingly, or at the

very least negligently or with gross negligence, including because the inspections and disclosures

were made while willfully failing to establish appropriate administrative, technical, and physical

safeguards to ensure the security and confidentiality of Mr. Warren’s confidential taxpayer

information from the unlawful inspections and disclosures alleged herein.

       81.     Booz Allen made these unlawful inspections and disclosures knowingly, or at the

very least negligently or with gross negligence, including because the inspections and disclosures

were made while willfully failing to adequately supervise the activities of employees, such as

Littlejohn, that it knew to be incompetent and capable of inflicting harm through an unauthorized

inspection or disclosure of tax returns or return information.

       82.     Booz Allen, both through its own actions and through its employee, Littlejohn,

unlawfully inspected and disclosed Mr. Warren’s tax returns and return information using Booz




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Allen’s computers and network access to IRS systems and databases. The unlawful inspections

and disclosures were made within the scope of Littlejohn’s employment at Booz Allen.

       83.     Booz Allen, both through its own actions and through its employee, Littlejohn,

caused the disclosure of the confidential return information to ProPublica and The New York

Times with the intent that ProPublica and/or The New York Times would widely publish the

information through their websites or through other means.

       84.     Booz Allen’s inspections and disclosures of Mr. Warren’s tax return information

did not result from a “good faith, but erroneous interpretation of section 6103,” see 26 U.S.C. §

7431(b)(1), but rather from knowing violations, gross negligence, and/or negligence.

       85.     Booz Allen’s inspections and disclosures of Mr. Warren’s tax return information

were not “requested by the taxpayer,” Mr. Warren, pursuant to 26 U.S.C. § 7431(b)(2).

       86.     Pursuant to 26 U.S.C. § 7431(c), Mr. Warren is entitled to statutory damages in the

amount of $1,000 for each act of unauthorized inspection and disclosure, plus actual damages

sustained as a result of the unauthorized inspections and disclosures.

       87.     Mr. Warren is also entitled to punitive damages pursuant to 26 U.S.C. §

7431(c)(1)(B)(ii) because Booz Allen’s unlawful inspections and disclosures of his confidential

tax return information were either willful or a result of gross negligence.

       88.     Mr. Warren is entitled to the costs of the action and reasonable attorney’s fees

pursuant to 26 U.S.C. § 7431(c)(3) if he is the prevailing party in this action.

                                 SECOND CAUSE OF ACTION

                                      Negligent Supervision
                                    (Maryland Common Law)

       89.     Mr. Warren realleges and incorporates by reference each of the preceding

paragraphs as if fully set forth herein.



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       90.     From 2018–2021, Booz Allen performed IT, cybersecurity, tax administration, and

other electronic data services for the IRS under contracts with the Department of the Treasury

and/or the IRS. The IRS granted Booz Allen access to its computers, networks, and data storage

locations to enable Booz Allen to perform those services. The IRS also afforded Booz Allen access

to tax databases. Through access to these systems, the IRS enabled Booz Allen and its employees

to search, access, download, and disclose confidential tax returns and tax return information,

including that of Mr. Warren.

       91.     During that time, Booz Allen employed Charles Littlejohn and staffed him on

assignments that allowed him access to unmasked taxpayer data through the Booz Allen computer

network and its connection to the IRS systems and databases.

       92.     Littlejohn was incompetent. He was capable of inflicting harm by using his access

to confidential tax returns and return information to publicly disclose that information. Littlejohn

pursued employment at Booz Allen and work on IRS projects for improper political purposes and

to malign wealthy Americans. Littlejohn aimed to use his employment and data access credentials

to breach IRS systems, misappropriate confidential taxpayer data of Mr. Warren and others, and

provide it to journalists for worldwide publication to humiliate high-net-worth taxpayers.

Littlejohn willingly disregarded IRS data security and confidentiality restrictions, and unlawfully

used his access to IRS data for improper political purposes. He further exploited this access to

damage the reputations and businesses of wealthy Americans, including Mr. Warren.

       93.     Booz Allen knew, or by the exercise of diligence and reasonable care should have

known of, Littlejohn’s incompetence. Booz Allen knew, or by the exercise of diligence and

reasonable care should have known of, Littlejohn’s ability to inflict harm through public disclosure

of the tax returns and return information he accessed through his employment. Booz Allen knew,




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or by the exercise of diligence and reasonable care should have known Littlejohn was capable of

inflicting harm through public disclosure of the private information of Mr. Warren and other

American taxpayers. Booz Allen had or should have had knowledge of Littlejohn’s conduct or

general character which would have caused a prudent employer in these circumstances to have

taken action. On information and belief, Littlejohn made known to Booz Allen supervisors and

coworkers his extreme political views, his contempt for the wealthy, and his criticisms of perceived

tax advantages used by the wealthy.

       94.     Booz Allen knew, or by the exercise of diligence and reasonable care should have

known, that Littlejohn was improperly searching for, accessing, inspecting, stealing, and

disclosing tax returns and return information. Booz Allen is one of the largest government

contractors in the world, with 2023 revenue exceeding $10B. Relevant here, Booz Allen received

multiple contracts from the Department of the Treasury and/or the IRS, specifically to safeguard

the IRS’s cybersecurity, modernize the IRS database, and assist that agency in tax administration.

       95.     Booz Allen had a duty to American taxpayers, including Mr. Warren, to supervise

the activities of employees such as Littlejohn and stop any unauthorized inspection or disclosure

of tax returns or return information.

       96.     Booz Allen controlled Littlejohn’s project work, his hours, his company computer

and network access, and his authorization for access to IRS systems and databases. Booz Allen’s

IT department had the ability and duty to monitor Littlejohn’s searches, views, downloads,

uploads, and other activities involving the IRS systems, databases, and taxpayer data. Yet Booz

Allen either (a) monitored those activities, yet did nothing to stop them, or (b) willingly chose not

to monitor those activities. Booz Allen thus breached its duty to reasonably supervise or monitor




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its employees and stop any unauthorized inspection or disclosure of tax returns or return

information.

       97.       Booz Allen negligently permitted its employees, including Littlejohn, to use its

computers, computer networks, or credentials to access IRS systems and databases that contained

the tax returns and return information of Mr. Warren.

       98.       Booz Allen negligently permitted its employees, including Littlejohn, unlawfully

to inspect Mr. Warren’s confidential tax returns and return information, and then unlawfully to

disclose that information publicly to ProPublica, The New York Times, and potentially other

media outlets.

       99.       These actions and omissions breached Booz Allen’s duty to American taxpayers,

including Mr. Warren, to supervise the activities of employees such as Littlejohn and stop any

unauthorized inspection or disclosure of tax returns or return information.

       100.      Mr. Warren’s taxpayer returns and return information are, and are entitled to be,

private facts. Booz Allen negligently allowed Littlejohn publicly to disclose the private facts of

Mr. Warren’s tax returns and return information, which constitutes the tort of invasion of privacy.

       101.      Mr. Warren’s tax returns and return information are matters the disclosure of which

are highly offensive to a reasonable person and are matters that are not of legitimate concern to

the public.

       102.      This public disclosure of Mr. Warren’s tax returns and return information gave

publicity to a matter concerning the private life of Mr. Warren.

       103.      This public disclosure of Mr. Warren’s tax returns and return information by

Littlejohn, a Booz Allen employee, caused Mr. Warren’s actual injuries.




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        104.      Booz Allen’s negligent supervision and monitoring of Littlejohn proximately

caused Mr. Warren’s injuries by allowing the public disclosure of his tax returns and return

information.

                                   THIRD CAUSE OF ACTION

                                       Invasion of Privacy
                                     (Maryland Common Law)

        105.      Mr. Warren realleges and incorporates by reference each of the preceding

paragraphs as if fully set forth herein.

        106.      At all relevant times, Booz Allen had access to the private tax returns and return

information of Mr. Warren.

        107.      Mr. Warren’s taxpayer returns and return information are, and are entitled to be,

private facts.

        108.      Mr. Warren’s tax returns and return information are matters the disclosure of which

are highly offensive to a reasonable person and are matters that are not of legitimate concern to

the public.

        109.      In or about September 2020, Booz Allen, acting through Littlejohn, contacted and

discussed with ProPublica the possibility of unlawfully disclosing a copy of Mr. Warren’s and

thousands of others’ confidential tax return information.

        110.      Booz Allen, acting through Littlejohn, disclosed the taxpayer data—including that

of Mr. Warren—via an encrypted USB drive to a ProPublica journalist. Then, from as early as

September 2020 to at least November 2020, Booz Allen unlawfully disclosed Mr. Warren’s and

thousands of others’ confidential returns and return information to ProPublica on a personal

storage device.




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       111.    In or about November 2020, Booz Allen, acting through Littlejohn, disclosed the

device’s password to ProPublica. ProPublica then published nearly 50 articles that publicly

disclosed data from the returns and return information of Kelcy Warren and other taxpayers.

       112.    At all relevant times, Littlejohn was acting, at least in part, with an intent to benefit

Booz Allen.

       113.    Booz Allen, acting through its employee, thus made the private facts of these

returns and return information public by disclosing them to journalists, who then published them

on the internet. The inspection and disclosure of the tax returns and return information were done

with actual malice, evil motive, and intent to injure. Specifically, Booz Allen’s employee

Littlejohn inspected and disclosed Mr. Warren’s tax returns with the intention to cause, inter alia,

public backlash, significant reputational harm, loss of privacy, and economic damages to Mr.

Warren.

       114.    Booz Allen’s public disclosure of Mr. Warren’s tax returns and return information

gave publicity to a matter concerning the private life of Mr. Warren.

       115.    Booz Allen’s public disclosure of Mr. Warren’s tax returns and return information

proximately caused Mr. Warren’s injuries.

                                         JURY DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Mr. Warren demands a trial

by jury of all claims asserted in this Complaint so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Kelcy L. Warren respectfully requests that the Court enter

judgment in his favor and against Booz Allen, as follows:




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        A.     Declaring that Booz Allen willfully, knowingly, and/or by gross negligence,

unlawfully inspected Mr. Warren’s confidential tax return information in violation of 26 U.S.C. §

6103;

        B.     Declaring that Booz Allen willfully, knowingly, and/or by gross negligence,

unlawfully disclosed Mr. Warren’s confidential tax return information in violation of 26 U.S.C. §

6103;

        C.     Awarding Mr. Warren $1,000 in damages for each unauthorized disclosure of his

tax return information, or actual damages sustained by Mr. Warren as a result of the unauthorized

inspection or disclosure, pursuant to 26 U.S.C. § 7431(c)(1);

        D.     Awarding Mr. Warren reasonable costs and attorney’s fees pursuant to 26 U.S.C. §

7431(c)(2)-(3) and as may otherwise be permitted by law;

        E.     Awarding Mr. Warren punitive damages pursuant to 26 U.S.C. § 7431(c)(1)(B)(ii)

because Booz Allen’s unlawful disclosure of his confidential tax return information was either

willful or a result of gross negligence;

        F.     Awarding Mr. Warren actual damages, punitive damages, and costs of suit under

Maryland common law;

        G.     Awarding pre-and post-judgment interest as allowed by law; and

        H.     Any such other relief the Court deems just and proper.




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Dated: June 17, 2024                       Respectfully submitted,


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                                           KELCY L. WARREN




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically on this 17th day of June, 2024, and will, therefore, be served electronically upon:

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                                                     /s/Jeremy A. Fielding
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